             Case 17-11213 Doc 605-6 Filed 06/21/19 Entered 06/21/19 18:54:35 Exhibit F Litigation
                                  •
                                  and  Mr. Darr has more
                                       Distribution      than 30
                                                     Trustee  Bioyears
                                                                   Pageof experience
                                                                          1 of 3     providing accounting, auditing and financial
                                             consulting services to business organizations, many of which are experiencing significant
                                             financial and operating difficulties. Mr. Darr has led advisory engagements involving several
                                             significant reorganization cases, has served in a variety of fiduciary capacities, including
                                             Creditors’ Trustee, Liquidating Trustee, Assignee for the Benefit of Creditors and Chapter 11
                                             Trustee. In addition, Mr. Darr was formerly a Chapter 7 Trustee for the District of New Hampshire.

                                        •    Mr. Darr’s fiduciary experience includes identification and pursuit of potential causes of action,
                                             including tortious interference, claims against directors and officers, fraudulent conveyance,
                                             preferential payments, solvency, indubitable equivalency and other related matters.

                                        •    His industry experience includes banking, law and professional services firms, healthcare,
                                             pharmaceuticals, energy, automotive, real estate/construction,
                                             mortgages/derivatives, telecommunications, and manufacturing and distribution.

                                        •    Mr. Darr’s experience also includes providing litigation support and expert testimony in
                                             bankruptcy and non-bankruptcy matters involving preference and fraudulent conveyance actions,
                                             professional liability claims, patent infringement, royalty and intellectual property disputes,
                                             construction claims, wrongful employment discharge and lender liability and business tort claims.
                                             He has testified in U.S. Bankruptcy Court proceedings in Delaware, New York, Pennsylvania,
                                             Massachusetts, Rhode Island, Connecticut, Maine, New Hampshire and Vermont on a wide
                                             range of bankruptcy matters, including feasibility of business plans, allowability of creditors’

STEPHEN
                                             claims, best-interests test for unsecured creditors, fraudulent conveyance claims, preference
                                             actions, solvency, debtor-in-possession financing, substantive consolidation issues, cash
                                             collateral arrangements, valuation, equitable subordination, reorganization tax issues, and key

DARR                                         employee retention plans.​

T 617.226.5593                          •    Education and Certification
E sdarr                                      -    M.B.A., University of Chicago​
@huronconsultinggroup.com                    -    B.B.A., Boston College​
                                             -    Certified Public Accountant - Massachusetts,​
                                                  New Hampshire​
                                             -    Certified Insolvency and Restructuring Advisor​
                                             -    Certification in Financial Forensics​
BUSINESS ADVISORY                            -    Certification in Distressed Business Valuation​
MANAGING DIRECTOR                            -    FINRA Series 7, 24, 79​
                                        •    Professional Associations
                                             -    Fellow, American College of Bankruptcy​


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                               Bankruptcy Proceedings
                                        and  Distribution Trustee Bio Page 2 of 3
                                •   TelexFree LLC et al.-Currently serve as Chapter 11 trustee involving a world-wide pyramid/Ponzi scheme with
                                    approximately 2,000,000 victims holding 11,000,000 user accounts. Work closely with the Enforcement Division of the
                                    SEC, Homeland Security Investigations and the office of the U.S. Attorney for Massachusetts.
                                    Key accomplishments
                                    –    Devised a working version of the Debtors’ accounting system for participants
                                    –    Directed the development and administration of an electronic portal for submission of claims (approximately
                                         130,000 claims received)
                                    –    Instituted two reverse class action complaints seeking recovery of fraudulent transfers from 93,000 defendants
                                •   Columbus Mortgage-Served as Chapter 11 trustee for a mortgage lending company which failed to release fully-paid
                                    mortgage liens, defrauded investors and violated state and Federal securities laws.
                                     •     Identified and directed successful prosecution of fraud claims against the Debtor’s principals
                                •   Oscient Pharmaceuticals, Inc.-Served as post-confirmation Plan Trustee; responsibilities include liquidation of remaining
                                    assets, claims review and objections, identification and prosecution of preference actions, tax reporting, wind-up of
                                    employee benefit plans and distributions to creditors
                                     •     Identified and directed successful prosecution of preference and fraudulent conveyance complaints
                                •   Armco, International, Inc.-Served as Chapter 11 trustee for major importer of firearms and ammunition; responsibilities
                                    included controlling extensive inventory of firearms and ammunition (including automatic weapons (BATF Class 3) and
                                    destructive devices (BATF Class 10), conducting a public auction under the supervision of the BATF and the FBI, claims
                                    review and distribution to shareholders; identified and pursued preference actions.
                                     •     Identified and directed successful prosecution of preference and fraudulent conveyance complaints
                                •   BKW Systems, Inc. - Served as Chapter 11 Trustee for multi-state provider of data processing services to mid-size banks
                                    having assets $500 million to $1 Billion; responsibilities included operating the business for approximately 8 months while
                                    stabilizing operations and maintaining relations with user group; directed sale process and negotiated sale of Company.
                                     •     Identified and directed successful prosecution of preference and fraudulent conveyance complaints

STEPHEN                         •   Access Cardiosystems, Inc. -Served as Chief Restructuring Officer during Chapter 11; responsibilities included financial
                                    reporting, bankruptcy planning and execution, human resources, information technology, claims review and assisted in

DARR
                                    directing wind-down of the Debtor.
                                •   Androscoggin Energy-Served as distribution agent; responsibilities included preparing and reporting on payments made
                                    to creditors pursuant to confirmed Plan
T 617.226.5593
                                •   Legal Data Systems, Inc. – Served as Chapter 11 Trustee for approximately two years; responsibilities included
E sdarr                             stabilizing operations, maintaining relations with user group and developing next generation computer software; directed
@huronconsultinggroup.com           sale process and negotiated sale of Company.
                                     •     Identified and directed successful prosecution of preference and fraudulent conveyance complaints


BUSINESS ADVISORY
MANAGING DIRECTOR




                                                                                                                                                                  2
Stephen Darr
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                                                    and Distribution Trustee Bio Page 3 of 3


Managing Director

Mr. Darr has over 35 years of experience providing accounting, auditing and financial consulting services to business
organizations, many of which are experiencing significant financial and operating difficulties. His industry experience
includes law and professional services firms, healthcare, pharmaceuticals, energy, automotive, real
estate/construction, mortgages/derivatives, telecommunications, and manufacturing and distribution.
Professional experience                                                           •  Served as a consulting expert for the defendant in an intellectual
Mr. Darr’s experience also includes providing litigation support and                 property dispute alleging damages in excess of $250 million.
expert testimony in bankruptcy and non-bankruptcy matters involving               • Testified regarding make-whole damages asserted in Calpine’s
preference and fraudulent conveyance actions, professional liability                 bankruptcy case on behalf of bondholders with bonds totaling
claims, patent infringement, royalty and intellectual property disputes,             $2.5 billion.
construction claims, wrongful employment discharge and lender                     • Testified in support of Plan of Liquidation of New England
liability and business tort claims. He has testified in court proceedings            Compounding Pharmacy, Inc.
in Delaware, New York, Pennsylvania, Massachusetts, Rhode Island,                 • Retained by the Creditors' Committee to investigate and report
Connecticut, Maine, New Hampshire, California and Vermont on a                       on intercompany transfers exceeding $1 billion to pre-petition
wide range of matters, including valuation, contract disputes,                       transfers made shortly prior to Chapter 11 proceedings               P: 617-226-5593
feasibility of business plans, financing arrangements, allowability of
creditors’ claims, Preference and fraudulent conveyance claims,,                   Education and certification                                            C: 617-510-7766
solvency, substantive consolidation and veil-piercing issues, equitable           • M.B.A., University of Chicago                                         sdarr@huronconsultinggroup.com
subordination, reorganization tax issues, and key employee retention              • B.B.A., Boston College
plans.                                                                            • Certified Public Accountant - Massachusetts,
                                                                                     New Hampshire
Representative examples of Stephen’s engagement experience
include:                                                                          • Certified Insolvency and Restructuring Advisor
• Currently serve as Chapter 11 Trustee for TelexFree, LLC, an                    • Certification in Financial Forensics
    international Ponzi/pyramid scheme involving Voice Over the                   • Certification in Distressed Business Valuation
    Internet Protocol (both landline and mobile) with approximately               • FINRA Series 7, 24, 79
    1,500,000 participants
• Provided analysis and testimony on behalf of the Vermont Public                 Past & Current Board Memberships
    Service Board before the Vermont Public Service Commission
                                                                                  • Fellow, American College of Bankruptcy
    regarding FairPoint Communication, Inc.’s proposed Plan of
    Reorganization. (engagement performed while with a previous                   • Director, Association of Insolvency and Restructuring Advisors
    firm).


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